LEONARD S. HENTZ, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hentz v. CommissionerDocket No. 41597.United States Board of Tax Appeals21 B.T.A. 1086; 1931 BTA LEXIS 2256; January 8, 1931, Promulgated *2256  The March 1, 1913, fair market value of certain real estate sold by the petitioner in 1925, determined.  George W. Study, Esq., for the petitioner.  C. H. Curl, Esq., for the respondent.  MARQUETTE This proceeding is for the redetermination of a deficiency in income tax asserted by the respondent for the year 1925 in the amount of $6,227.46.  The petitioner alleges that the respondent erred in his determination of the March 1, 1913, value of certain real estate sold by the petitioner in 1925.  FINDINGS OF FACT.  The petitioner is an individual residing at Madison, N.J.  In the year 1904 petitioner purchased for $10,000 a tract of land consisting of about 84 acres, known as Sand Hill Farm and located at the corner of Noe Avenue and Shunpike Road, and adjoining the village of Madison, Chatham Township, Morris County, N.J.  In 1925 the petitioner sold said tract of land to one Lincoln J. Pierson for $42,000.  The fair market value of said land on March 1, 1913, was $42,000.  The petitioner in his income-tax return for the year 1925 did not report any amount as profit from the sale of said land.  The respondent, upon audit of the return, determined*2257  that said land had a fair market value of $21,000 on March 1, 1913, that the petitioner realized a profit in 1925, and that there is a deficiency in tax of $6,227.46.  OPINION.  MARQUETTE: The record in this proceeding presents a single issue of fact, namely, What was the fair market value on March 1, 1913, of the tract of land described in the findings of fact?  The petitioner contends that the value was at least $42,000 on that date, and the respondent contends that it was not more than $21,000.  The evidence consists of the testimony of eight witnesses, and several exhibits, which it is neither practicable nor necessary to set forth in detail.  It establishes to our satisfaction that the land under consideration had a fair market value of at least $500 per acre, or $42,000, on March 1, 1913, and that the respondent erred in his determination that the petitioner realized a profit from the sale.  Judgment will be entered under Rule 50.